   Case: 1:22-cv-04862 Document #: 56 Filed: 01/17/23 Page 1 of 14 PageID #:2251




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 BLUE SPHERE, INC. d/b/a LUCKY 13 and ROBERT A.
 KLOETZY,                                                          Case No. 22-cv-4862

                                                                   Judge Ronald A. Guzman
                         Plaintiffs,
                                                                   Magistrate Judge Gabriel A. Fuentes
        v.

 THE INDIVIDUALS, CORPORATIONS, LIMITED
 LIABILITY COMPANIES, PARTNERSHIPS, AND
 UNINCORPORATED ASSOCIATIONS IDENTIFIED
 ON SCHEDULE A HERETO, et al.,

                         Defendants.


                               DEFAULT JUDGMENT ORDER

       This action having been commenced by Plaintiffs BLUE SPHERE, INC., d/b/a LUCKY

13 and ROBERT A. KLOETZY (“Plaintiffs”) against the defendants identified on Schedule A,

and using the Defendant Domain Names and Online Marketplace Accounts identified on Schedule

A (collectively, the “Defendant Internet Stores”), and Plaintiffs having moved for entry of Default

and Default Judgment against the defendants identified on Schedule A attached hereto which have

not yet been dismissed from this case (collectively, “Defaulting Defendants”);

       This Court having entered a preliminary injunction; Plaintiffs having properly completed

service of process on Defaulting Defendants, the combination of providing notice via electronic

publication and e-mail, along with any notice that Defaulting Defendants received from domain

name registrars and payment processors, being notice reasonably calculated under all

circumstances to apprise Defaulting Defendants of the pendency of the action and affording them

the opportunity to answer and present their objections; and
   Case: 1:22-cv-04862 Document #: 56 Filed: 01/17/23 Page 2 of 14 PageID #:2252




       None of the Defaulting Defendants having answered or appeared in any way, and the time

for answering having expired, so that the allegations of the Complaint are uncontroverted and are

deemed admitted;

        This Court finds that it has personal jurisdiction over Defaulting Defendants because

 Defaulting Defendants directly target their business activities toward consumers in the United

 States, including Illinois. Specifically, Plaintiffs have provided a basis to conclude that

 Defaulting Defendants have targeted sales to Illinois residents by setting up and operating e-

 commerce stores that target United States consumers using one or more seller aliases, offer

 shipping to the United States, including Illinois, and have sold products using infringing and

 counterfeit versions of Plaintiffs’ federally registered trademarks (the “LUCKY 13

 Trademarks”) to residents of Illinois. In this case, Plaintiffs have presented screenshot evidence

 that each Defendant e-commerce store is reaching out to do business with Illinois residents by

 operating one or more commercial, interactive internet stores through which Illinois residents

 can and do purchase products using counterfeit versions of the LUCKY 13 Trademarks. See

 Docket Nos.12-18, which includes screenshot evidence confirming that each Defendant e-

 commerce store does stand ready, willing and able to ship its counterfeit goods to customers in

 Illinois bearing infringing and/or counterfeit versions of the LUCKY 13 Trademarks.

       A list of the LUCKY 13 Trademarks is included in the below chart.


Registration
                   Registered Trademark              International Classes
Number
2,970,316          LUCKY 13                          18, 26
2,974,104          Lucky 13                          12
3,022,964          LUCKY 13                          6, 16, 21
3,049,988          TATOO YOUR SOUL                   25, 35
3,207,294          LUCKY 13                          25, 35
3,250,642          LUCKY 13                          14

                                                 2
     Case: 1:22-cv-04862 Document #: 56 Filed: 01/17/23 Page 3 of 14 PageID #:2253




 4,380,254          Grease Gas & Glory                25, 35

        This Court further finds that Defaulting Defendants are liable for willful federal trademark

infringement and counterfeiting (15 U.S.C. § 1114), false designation of origin (15 U.S.C.

§ 1125(a)), and violation of the Illinois Uniform Deceptive Trade Practices Act (815 ILCS § 510

et seq.).

        Accordingly, this Court orders that Plaintiffs’ Motion for Entry of Default and Default

Judgment is GRANTED as follows, that Defaulting Defendants are deemed in default, and that

this Default Judgment is entered against Defaulting Defendants.

        This Court further orders that:

1.      Defaulting Defendants, their officers, agents, servants, employees, attorneys, and all

        persons acting for, with, by, through, under, or in active concert with them be permanently

        enjoined and restrained from:

        a. using the LUCKY 13 Trademarks or any reproductions, counterfeit copies, or colorable

             imitations in any manner in connection with the distribution, marketing, advertising,

             offering for sale, or sale of any product that is not a genuine LUCKY 13 product or not

             authorized by Plaintiffs to be sold in connection with the LUCKY 13 Trademarks;

        b. passing off, inducing, or enabling others to sell or pass off any product as a genuine

             LUCKY 13 product or any other product produced by Plaintiffs, that is not Plaintiffs’

             or not produced under the authorization, control, or supervision of Plaintiffs and

             approved by Plaintiffs for sale under the LUCKY 13 Trademarks;

        c. committing any acts calculated to cause consumers to believe that Defaulting

             Defendants’ products are those sold under the authorization, control, or supervision of




                                                  3
     Case: 1:22-cv-04862 Document #: 56 Filed: 01/17/23 Page 4 of 14 PageID #:2254




           Plaintiffs, or are sponsored by, approved by, or otherwise connected with Plaintiffs;

           and

        d. manufacturing, shipping, delivering, holding for sale, transferring or otherwise moving,

           storing, distributing, returning, or otherwise disposing of, in any manner, products or

           inventory not manufactured by or for Plaintiffs, nor authorized by Plaintiffs to be sold

           or offered for sale, and which bear any of Plaintiffs’ trademarks, including the LUCKY

           13 Trademarks, or any reproductions, counterfeit copies or colorable imitations.

2.      The domain name registries for the Defendant Domain Names, including, but not limited

        to, VeriSign, Inc., Neustar, Inc., Afilias Limited, CentralNic, Nominet, and the Public

        Interest Registry, and the domain name registrars, including, but not limited to, GoDaddy

        Operating Company LLC, Name.com, PDR LTD. d/b/a/ PublicDomainRegistry.com, and

        Namecheap Inc., within seven (7) calendar days of receipt of this Order, shall, at Plaintiffs’

        choosing:

        a. transfer the Defendant Domain Names to Plaintiffs’ control, including unlocking and

           changing the registrar of record for the Defendant Domain Names to a registrar of

           Plaintiffs’ selection, and the domain name registrars shall take any steps necessary to

           transfer the Defendant Domain Names to a registrar of Plaintiffs’ selection; or

        b. disable the Defendant Domain Names and make them inactive and untransferable.

3.      Defaulting Defendants and any third party with actual notice of this Order who is providing

        services for any of the Defaulting Defendants, or in connection with any of the Defaulting

        Defendants’ Online Marketplaces, including, without limitation, any online marketplace

        platforms such as AliExpress, Alibaba Group Holding Ltd. (“Alibaba”), Amazon.com and




                                                  4
     Case: 1:22-cv-04862 Document #: 56 Filed: 01/17/23 Page 5 of 14 PageID #:2255




        ContextLogic, Inc. d/b/a Wish.com (“Wish.com”) (collectively, the “Third Party

        Providers”), shall within seven (7) calendar days of receipt of this Order cease:

               a. using, linking to, transferring, selling, exercising control over, or otherwise

               owning the Online Marketplace Accounts, or any other online marketplace account

               that is being used to sell or is the means by which Defaulting Defendants could

               continue to sell counterfeit and infringing goods using the LUCKY 13 Trademarks;

               and

               b. operating and/or hosting websites that are involved with the distribution,

               marketing, advertising, offering for sale, or sale of any product bearing the LUCKY

               13 Trademarks or any reproductions, counterfeit copies or colorable imitations

               thereof that is not a genuine LUCKY 13 product or not authorized by Plaintiffs to

               be sold in connection with the LUCKY 13 Trademarks.

4.      Upon Plaintiffs’ request, those with notice of this Order, including the Third Party

        Providers as defined in Paragraph 3, shall within seven (7) calendar days after receipt of

        such notice, disable and cease displaying any advertisements used by or associated with

        Defaulting Defendants in connection with the sale of counterfeit and infringing goods using

        the LUCKY 13 Trademarks.

5.      Pursuant to 15 U.S.C. § 1117(c)(2), Plaintiffs are awarded statutory damages from each of

        the Defaulting Defendants in the amount of One Hundred Thousand dollars ($100,000) for

        willful use of counterfeit LUCKY 13 Trademarks on products sold through at least the

        Defendant Internet Stores. This award shall apply to each distinct Defaulting Defendant

        only once, even if they are listed under multiple different aliases in the Complaint and

        Schedule A.


                                                 5
      Case: 1:22-cv-04862 Document #: 56 Filed: 01/17/23 Page 6 of 14 PageID #:2256




6.       Any Third Party Providers holding funds for Defaulting Defendants, including Alipay,

         Alibaba, Wish.com, Ant Financial Services Group (“Ant Financial”), and Amazon Pay,

         shall, within seven (7) calendar days of receipt of this Order, permanently restrain and

         enjoin any accounts connected to Defaulting Defendants or the Defendant Internet Stores

         from transferring or disposing of any funds (up to the statutory damages awarded in

         Paragraph 6 above) or other of Defaulting Defendants’ assets.

7.       All monies (up to the amount of the statutory damages awarded in Paragraph 6 above)

         currently restrained in Defaulting Defendants’ financial accounts, including monies held

         by Third Party Providers such as Alipay, Alibaba, Wish.com, Ant Financial, and Amazon

         Pay, are hereby released to Plaintiffs as partial payment of the above-identified damages,

         and Third Party Providers, including Alipay, Alibaba, Wish.com, Ant Financial, and

         Amazon Pay, are ordered to release to Plaintiffs the amounts from Defaulting Defendants’

         financial accounts within fourteen (14) calendar days of receipt of this Order.

8.       Until Plaintiffs have recovered full payment of monies owed to it by any Defaulting

         Defendant, Plaintiffs shall have the ongoing authority to commence supplemental

         proceedings under Federal Rule of Civil Procedure 69.

9.       In the event that Plaintiffs identify any additional online marketplace accounts or financial

         accounts owned by Defaulting Defendants, Plaintiffs may send notice of any supplemental

         proceeding, including a citation to discover assets, to Defaulting Defendants by e-mail at

         the e-mail addresses identified in Exhibit 2 to the Declaration of Robert A. Kloetzy and

         any e-mail addresses provided for Defaulting Defendants by third parties.

10.      The Ten Thousand dollar ($10,000) surety bond posted by Plaintiffs are hereby released

         to its counsel, Michael A. Hierl of Hughes Socol Piers Resnick & Dym, Ltd.. The Clerk


                                                  6
   Case: 1:22-cv-04862 Document #: 56 Filed: 01/17/23 Page 7 of 14 PageID #:2257




       of the Court is directed to return the surety bond previously deposited with the Clerk of the

       Court to Michael A. Hierl of Hughes Socol Piers Resnick & Dym, Ltd. at Three First

       National Plaza, 70 W. Madison Street, Suite 4000, Chicago, IL 60602.


This is a Default Judgment.

Dated: January 17, 2023
                                             ______________________

                                             Ronald A. Guzman
                                             United States District Judge




                                                7
Case: 1:22-cv-04862 Document #: 56 Filed: 01/17/23 Page 8 of 14 PageID #:2258




                             Amended Schedule A

                 No.   Defendant Name / Alias
                  1    Alice Patel
                  2    aslpemhdu
                  3    BaiXiaoYu
                  4    buxianjie55713
                  5    CaimiyamP
                  6    cajwhwaa
                  7    chenlei00
                  8    chenshixian78062
                  9    CuiXiaoYuan
                 10    ETCV56FG
                 11    FFFJJJH
                 12    FOXffhuccu
                 13    Goldfort
                 14    hehao65399405
                 15    Heidi Dobos
                 16    hgdhh445fj8g
                 17    House_Merci
                 18    hufang7624
                 19    James Naquin
                 20    jdiajdsoidplaode
                 21    Jiangyu00586
                 22    jianlinxiaohao
                 23    JianLonChen
                 24    jkjdwnh8y
                 25    JonathanHuberypGiYk
                 26    Kenneth Gomez
                 27    khanhvidang48959
                 28    Kilbazar
                 29    Kimberlycl
                 30    koujhjy
                 31    ldiwhdqpd
                 32    Lieer Shortshirts
                 33    LiFangFali
                 34    LiHuaKang
                 35    LiuChunShuan
                 36    LiYangXia
                 37    LiYueFeng
                 38    Shop1102161173 Store

                                      8
Case: 1:22-cv-04862 Document #: 56 Filed: 01/17/23 Page 9 of 14 PageID #:2259




                 39   Shop1102178941 Store
                 40   19880421
                 41   30 segundos
                 42   AAhookxchf
                 43   AbigailSidneySidontPkR
                 44   Aileen Low
                 45   alibopka
                 46   Amy Bennett
                 47   Anegiou Baby's
                 48   Anitaabhn
                 49   anlizhaomi7685123
                 50   Antond
                 51   ArmstrongAuroradGtBu
                 52   astorgapatrick
                 53   banerjihdyxuin
                 54   Barb White
                 55   Barbetket
                 56   barnerbaoxlis
                 57   Barrycx
                 58   Belawere
                 59   Bertha Celestin
                 60   Betty C Holder
                 61   Billy Keith
                 62   burguerazul
                 63   CaoXueLiu
                 64   Careulan Fans
                 65   Casa de Oracion
                 66   Catherinemgl
                 67   changpanfeng886
                 68   chenyouliang1453
                 69   chevdl8xztjm
                 70   chuzhulong60053
                 71   Clifford McGarry
                 72   Coursemichae
                 73   d3h4i4i4
                 74   Dannishijie
                 75   Danny Spaulding
                 76   DAVID CORNN JR
                 77   Dawn Coleman
                 78   Debriyren Bedclotehs
                 79   Demaxia Lesenten morrezion Artstore

                                      9
Case: 1:22-cv-04862 Document #: 56 Filed: 01/17/23 Page 10 of 14 PageID #:2260




                  80   Dingjinhua66059
                  81   doughmaker
                  82   DUANJUNWU19v5
                  83   duweijun1900
                  84   duwnwhey
                  85   DZWTG
                  86   earvines
                  87   ElectroAuto HH
                  88   Emersoncheu
                  90   Fashionyourway
                  91   fengting fashion
                  92   FSdfgx
                  93   GabrielleKentzIoBc
                  94   Gaochongyang375
                  95   GaoMingPen
                  96   gaoxiuxiu123
                  97   gaozhenzhne8936
                  98   Garrett Bollinger
                  99   gexinhu57785
                 100   gfhxdh
                 101   Glen McClain
                 102   gongxuran37201
                 103   gouguangfan supper-market
                 104   Graciela Harris
                 105   guoweilong33734
                 106   gusiqi
                 107   Hair Braiding Salon
                 108   HelenStanfordoCuOuH
                 109   heying778
                 110   hgfhgdrghcj
                 111   HildaHarlanhPoOjD
                 112   huanshhuansh
                 113   HuanWeiLi
                 114   hujing269
                 115   huzhongstore
                 116   hyongfeng
                 117   HZCZMSZX
                 118   In Home Pet Euthanasia
                 119   Jacquecr
                 120   Jason McWhirt
                 121   Jiang you112700

                                      10
Case: 1:22-cv-04862 Document #: 56 Filed: 01/17/23 Page 11 of 14 PageID #:2261




                 122   jingjingde
                 123   jingjingyouwei99
                 124   Jirongyao521596636
                 125   JosephSophiahRqJj
                 126   Joyce Banks
                 127   kaihekiaghe520
                 128   kaixuan trading company
                 129   kangjiafu62124
                 130   kanykang
                 131   Kaptun Pianowe Famelaik
                 132   Kennetblaze
                 133   Kimberly Thomsen
                 134   kinedxb
                 135   kjhgfsd
                 136   LaDonnike Morgan
                 137   Lam marker
                 138   laosmeb
                 139   Lashanda
                 140   liangmingli95
                 141   LiCuiYing
                 142   Lific
                 143   liguangyun21375
                 144   lihuajian6902
                 145   Lijungoodsstore
                 146   lilixin2020
                 147   limingrong8338
                 148   lipengfei33458
                 149   lirunyu9876
                 150   lisuying55197
                 151   LiTingYi
                 152   liuchong1234
                 153   liujiqlll
                 154   liulanying888
                 155   liuleil
                 156   liuxiaocheng
                 157   liuxiujun5600
                 158   liuxuelin16621
                 159   liuzhen1
                 160   LiuZhuangShi
                 161   liweijieg
                 162   lixin71217

                                      11
Case: 1:22-cv-04862 Document #: 56 Filed: 01/17/23 Page 12 of 14 PageID #:2262




                 163   liXlunch
                 164   lixuezhen1314
                 165   liyang82383
                 166   lizhch
                 167   LiZhiKai
                 168   Lorinda Vance
                 169   lovettebrendan
                 170   Lpdab
                 171   lqwen
                 172   lucky glil
                 173   lujiazhen92883
                 174   Luxue20
                 175   Telabeen Salen Francen
                 176   BICHY
                 177   botoushixinliangwujinzhipinyouxiangongsi
                 178   caonidaye
                 179   DATNEAKY
                 182   Junzhou
                 183   LAVIEST
                 184   LINHCHIBI
                 185   NNST STORE
                 186   RINGSGIFT
                 187   ShopVN
                 188   STORE247
                 189   sudecr
                 192   Thacopha
                 193   TPNJ
                 195   ynksn
                 196   YULANU
                 197   ZHJ Cheap shop
                 199   A litter Store
                 200   Alice clothing Store
                 201   Anime Dropship Store
                 202   Aufkleber Store
                 203   buckle world II
                 204   CEXIKA Store
                 205   Colorful 9 Store
                 206   DDB Store
                 207   Dropship Mask Store
                 208   E-CarLife Store
                 209   Ekko Car stickers Peace and Love Store

                                       12
Case: 1:22-cv-04862 Document #: 56 Filed: 01/17/23 Page 13 of 14 PageID #:2263




                 210   Hello Dropship Store
                 211   HUAILI Store
                 212   kadsa Store
                 213   LRGY Store
                 214   NINEN Store
                 215   Old Man Store
                 216   Shop1100003041 Store
                 217   Shop1100386925 Store
                 218   Shop1100387944 Store
                 219   Shop1100390921 Store
                 220   Shop1102055487 Store
                 221   Shop1102057467 Store
                 222   Shop1102058430 Store
                 223   Shop1102058473 Store
                 224   Shop1102060450 Store
                 225   Shop1102063397 Store
                 226   Shop1102064050 Store
                 227   Shop1102136607 Store
                 228   Shop1102140616 Store
                 229   Shop1102145085 Store
                 230   Shop1102186973 Store
                 231   Shop1102194452 Store
                 232   Shop1102196857 Store
                 233   Shop1195633 Store
                 234   Shop1757645 Store
                 235   Shop5881018 Store
                 236   Shop5889799 Store
                 237   Shop911142228 Store
                 238   Shop911192065 Store
                 239   Skirt Personality Store
                 240   Small Town Car Stickers Store
                 241   to be succeed ... li Store
                 242   TSHIRT2022 Store
                 243   varitystore55 Store
                 244   xiaoli cap Store
                 245   Xsoya Store
                 246   YESPLEASE Matt's Car Store
                 247   ymx01 Store
                 248   yue city Store
                 249   YUIN Official Store
                 250   yunhai Store

                                       13
Case: 1:22-cv-04862 Document #: 56 Filed: 01/17/23 Page 14 of 14 PageID #:2264




                                     14
